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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DISTRICT

JP MORGAN CHASE BANK, NATIONAL     )
ASSOCIATION,                       )
                                   )
                       Plaintiff,  )
                                   )
           v.                      )                             Case No. 1:19-CV-05770
                                   )
ROBERT KOWALSKI, AKA ROBERT M.     )
KOWALSKI; UNKNOWN OWNERS AND       )
NON-RECORD CLAIMANTS; CHICAGO      )                            1512 W. Polk Street
TITLE LAND TRUST COMPANY s/i/i TO  )                            Chicago, IL 60607
BRIDGEVIEW BANK GROUP FKA          )
BRIDGEVIEW BANK AND TRUST COMPANY, )
AS TRUSTEE UNDER TRUST AGREEMENT   )
DATED APRIL 24, 1993 AND KNOWN AS  )
TRUST NUMBER 1-2228; MARTHA        )
PADILLA; FEDERAL DEPOSIT INSURANCE )
CORPORATION, AS RECEIVER FOR       )
WASHINGTON FEDERAL BANK FOR        )
SAVINGS,                           )
                                   )
                       Defendants. )

                          JOINT STATUS REPORT ON DISCOVERY

         The parties hereby jointly submit this Status Report on Discovery pursuant to Court Order.

(See Dkt. 166).

A.       PROGRESS ON DISCOVERY

         At the remote deposition of Defendant Martha Padilla completed on September 27, 2021,

she agreed to produce documents that she is now the sole beneficiary of the subject property. No

such documents have been produced as of this filing.

B.       EXPERT WITNESS DISCOVERY

         This pertains solely as to the principal lawsuit and not the third-party complaint. The parties

propose that Martha Padilla disclose by November 12, 2021 any expert witness(es) she intends to



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use at trial to present evidence under Federal Rule of Evidence 702, 703 or 705, including

providing a written report in accordance with Fed. R. Civ. P. 26(a)(2). Any party may depose such

expert witness(es) presented by Martha Padilla by December 3, 2021. Any party may disclose any

rebuttal expert witness(es), including providing a written report, by December 31, 2021. Any

deposition of a rebuttal witness shall be conducted by January 25, 2022.




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        SUBMITTED JOINTLY AND BY AGREEMENT OF THE PARTIES:

Date: October 15, 2021

PLAINTIFF JPMORGAN CHASE BANK, DEFENDANT FEDERAL DEPOSIT
NATIONAL ASSOCIATION           INSURANCE CORPORATION,
                               AS RECEIVER FOR WASHINGTON
                               FEDERAL BANK FOR SAVINGS

/s/ Shana A. Shifrin                           /s/ James M. Dash
Shana A. Shifrin (sshifrin@burkelaw.com)       James M. Dash (jdash@carlsondash.com)
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                                               Telephone: (312) 382-1600
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/s/ Peter M. King                              /s/ Eric S. Rein
Peter M. King (pking@kingholloway.com)         Eric S. Rein (rrein@hmblaw.com)
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DEFENDANT MARTHA PADILLA                       THIRD-PARTY DEFENDANT FIRST
                                               MIDWEST BANK

/s/ Joseph R. Ziccardi                         /s/ Adam B. Rome
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